                            11TH COURT OF APPEALS
                               EASTLAND, TEXAS
                                   JUDGMENT

George Alois Meissner,                      * From the 326th District Court
                                              of Taylor County,
                                              Trial Court No. 23-16150N.

Vs. No. 11-24-00194-CV                      * August 21, 2024

Lorna Brooke Meissner,                      * Memorandum Opinion by Williams, J.
                                              (Panel consists of: Bailey, C.J.,
                                              Trotter, J., and Williams, J.)

    This court has inspected the record in this cause and concludes that the appeal
should be dismissed for want of jurisdiction. Therefore, in accordance with this
court’s opinion, the appeal is dismissed. The costs incurred by reason of this
appeal are taxed against George Alois Meissner.
